             IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     BRYSON CITY DIVISION

                     CRIMINAL CASE NO. 2:12cr33-4


UNITED STATES OF AMERICA, )
                            )
                            )
              vs.           )                       ORDER
                            )
                            )
LESTER ARTHUR DAVIS.        )
____________________________)



     THIS MATTER is before the Court on the Government’s Motion to

Dismiss [Doc. 66].

     For the reasons stated in the motion, it will be granted.

     IT IS, THEREFORE, ORDERED that the Government’s Motion to

Dismiss [Doc. 66] is hereby GRANTED and this action is hereby

DISMISSED without prejudice.

                                    Signed: May 22, 2013




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